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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09                  Plaintiff,            )
                                          )              Case No. CR06-026-RSL-JPD
10          v.                            )
                                          )
11                                        )              DETENTION ORDER
     GUTAMA JOTE DINKA,                   )
12   a/k/a “G,” a/k/a “Bobby,”            )
                                          )
13                  Defendant.            )
     ____________________________________ )
14
     Offenses Charged:
15
             Count 1: Conspiracy to Distribute Cocaine Base in violation of 21 U.S.C. §§ 841(a)(1),
16
     841(b)(1)(A), and 846.
17
             Counts 7 through 11: Possession of Cocaine Base with Intent to Distribute in violation
18
     of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 841(b)(1)(C).
19
     Date of Detention Hearing: May 18, 2006.
20
             At the initial arraignment, the Court, conducted a detention hearing pursuant to 18 U.S.C.
21
     § 3142(f), and based upon the factual findings and statement of reasons for detention hereafter
22
     set forth, finds:
23
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24
             (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant
25
     is a flight risk and a danger to the community based on the nature of the pending charges.
26

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01          (2)    Defendant has stipulated to detention, but reserves the right to contest his

02 continued detention if there is a change in circumstances.

03          (3)    There appear to be no conditions or combination of conditions other than

04 detention that will reasonably assure the defendant’s appearance at future Court hearings or the

05 safety of the community.

06          IT IS THEREFORE ORDERED:

07          (1)    Defendant shall be detained pending trial and committed to the custody of the

08                 Attorney General for confinement in a correction facility separate, to the extent

09                 practicable, from persons awaiting or serving sentences or being held in custody

10                 pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12                 counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14                 government, the person in charge of the corrections facility in which defendant

15                 is confined shall deliver the defendant to a United States Marshal for the purpose

16                 of an appearance in connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

18                 counsel for the defendant, to the United States Marshal, and to the United States

19                 Pretrial Services Officer.

20


                                                         A
                   DATED this 18th day of May, 2006.
21

22                                                       JAMES P. DONOHUE
                                                         United States Magistrate Judge
23

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25

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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